Clerk, U
444 SE.
Topeka,

Quincy,

S. District Court
Room

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JUN 30 2023

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CStains/Lipstick/White-out
CDExtraneous Writing/Marking on Envelope
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